                 IN THE DISTRICT COURT OF THE UNITED STATES
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             ASHEVILLE DIVISION

                                 CRIMINAL NO. 1:05CR23-15



UNITED STATES OF AMERICA                       )
                                               )
                                               )
               VS.                             )               ORDER
                                               )
                                               )
PHILLIP RAY ROSE                               )
                                               )


       THIS MATTER is before the Court on motion of defense counsel for permission to file

for an interim payment of counsel fees.

       For the reasons set forth in the motion and for cause shown,

       IT IS, THEREFORE, ORDERED that counsel’s motion is ALLOWED, and Mr.

Hunter is hereby permitted to file an interim fee petition in this matter.




     Case 1:05-cr-00023-MR-WCM              Document 97        Filed 05/11/05   Page 1 of 2
                       Signed: May 11, 2005




Case 1:05-cr-00023-MR-WCM   Document 97       Filed 05/11/05   Page 2 of 2
